                                        UN ITE D STA TE S D ISTRIC T C O URT
                                       E A STE RN D ISTRIC T O F W ISC O N SIN


D A N IE L B L A C K,

                         P laintiff,

            v.                                                     C ivilA ction N o.2:17 -cv-0 0 156
D A V ID A .C L A RKE ,J
                       R.,etal.

                         D efend ants.


                                         D E C L A RA TIO N O F JA M E S C O X



            J
            A M E S C O X d eclares,pu rsu antto 28 U.S.C .§ 17 46 and u nd erpenalty of perju ry,that

the followingis tru e and correct:

            1.           I hold the rank of Inspector in the InternalA ffairs D ivision of the M ilwau kee

C ou nty Sheriff’s O ffice,and Imake this d eclaration based u pon my own personalknowled ge of

the facts attested to herein and based u pon my review of the bu siness record s of the M ilwau kee

C ou nty Sheriff’s O ffice.

            2.           Imake this d eclaration in su pportof the M otion forSu mmary J
                                                                                       u d gmentof the

d efend ants,D avid A .C larke,J
                               r.,and M ilwau kee C ou nty.

            3.           I am one of the cu stod ians of the bu siness record s maintained in the ord inary

cou rse of bu siness of the M ilwau kee C ou nty Sheriff’s O ffice,whichare referenced herein.

            4.           Steven P au llwas employed as a d epu ty with the M ilwau kee C ou nty Sheriff’s

O ffice in J
           anu ary 20 17 .H e was certified atthattime as beingqu alified to be alaw enforcement

officerby the State of W isconsin D epartmentof J
                                                u stice D ivision of L aw E nforcementServices

Trainingand Stand ard s B u reau pu rsu antto stand ard s setby the Trainingand Stand ard s B u reau ,




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inclu d ing stand ard s with respect to law enforcement officer training on su bjects su ch as

reasonable su spicion and probable cau se.

            5.           D epu ty P au llcontinu es to meetallstand ard s and qu alifications setby the State of

W isconsin forlaw enforcementofficers.

            6.           J
                         effrey H artu ng was employed as ad epu ty with the M ilwau kee C ou nty Sheriff’s

O ffice in J
           anu ary 20 17 .H e was certified atthattime as beingqu alified to be alaw enforcement

officerby the State of W isconsin D epartmentof J
                                                u stice D ivision of L aw E nforcementServices

Trainingand Stand ard s B u reau pu rsu antto stand ard s setby the Trainingand Stand ard s B u reau ,

inclu d ing stand ard s with respect to law enforcement officer training on su bjects su ch as

reasonable su spicion and probable cau se.

            7.           D epu ty H artu ngcontinu es to meetallstand ard s and qu alifications setby the State

of W isconsin forlaw enforcementofficers.

            D ated this 25th d ay of O ctober,20 17 .


                                                               s/James C ox
                                                               James C ox




                                                           2
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